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15

16                                           UNITED STATES DISTRICT COURT

17                                          EASTERN DISTRICT OF CALIFORNIA

18                                              SACRAMENTO DIVISION

19

20 RALPH COLEMAN, et al.,                                   Case No. 2:90-CV-00520- KJM-DB

21                            Plaintiffs,                   THE PARTIES’ JOINT RESPONSE TO
                                                            ORDER TO SHOW CAUSE RE
22              v.                                          APPOINTMENT OF RECEIVER

23 GAVIN NEWSOM, et al.
                                                            Judge:   Hon. Kimberly J. Mueller
24                            Defendants.

25

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 1 I.           INTRODUCTION

 2              This is a unique and truly extraordinary moment in the 30-year history of this case. After

 3 decades of litigation over compliance with the Program Guide and the Constitution, the parties see

 4 a unique opportunity to complete the work of building and operating a mental healthcare system

 5 that satisfies the Eighth Amendment by appointing J. Clark Kelso as receiver in this case.

 6 Everyone has observed that the Receivership in Plata has accomplished what the Court and the

 7 parties desperately want—a well-functioning healthcare system and a path towards a durable

 8 remedy that will end that case. The parties also recognize that the tremendous progress that has

 9 been made in Plata is largely due to the structure of the Receivership as well as the authority,
10 direction, and guidance granted by the Plata court and the work of Mr. Kelso, the Plata Receiver.

11 In fact, the Plata Receivership has successfully transformed medical care in the CDCR prisons

12 and has been able to delegate authority back to the CDCR Secretary over 26 of 33 prisons and has

13 a schedule in place to determine whether the remaining prisons’ medical care systems meet the

14 requirements for delegation. Declaration of Donald Specter (“Specter Decl.”) ¶ 5; Declaration of

15 Diana Toche, D.D.S. (“Toche Decl.”) ¶ 3. That is the primary reason why the parties agree that

16 the Court should appoint him as the receiver in this case, if he and Judge Tigar so consent.

17 Declaration of Secretary Jeff Macomber (“Macomber Decl.”) ¶ 3; Declaration of David Sapp

18 (“Sapp Decl.”) ¶¶ 5-6; Toche Decl. ¶ 8; Declaration of Michael W. Bien (“Bien Decl.”) ¶ 8. And

19 that is why the parties have agreed not to appeal an order that is reflective of their agreement, as

20 described in detail below.

21              There are other reasons as well. Mr. Kelso is well-known and trusted by the parties. See
22 Specter Decl. ¶¶ 2-12; Bien Decl. ¶¶ 8-10; Toche Decl. ¶¶ 5-6; Macomber Decl. ¶ 3; Sapp Decl. ¶

23 4. He is able to work with state agencies and the Legislature to procure the necessary resources

24 with the backing of the Court but without the need for a court order, even in challenging economic

25 circumstances. Toche Decl. ¶ 5; Specter Decl. ¶ 7; Bien Decl. ¶ 8. He has now gained a

26 tremendous amount of experience in setting up and monitoring healthcare systems in a custodial

27 environment that is unlikely to be duplicated by any other person. See generally Specter, Bien,

28 Macomber, and Toche declarations. And because of that experience, his learning curve will surely

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 1 be much shorter than any other outsider. See Toche Decl. ¶ 6. He has improved record-keeping

 2 and quality management systems in CDCR’s healthcare system, has responded promptly to crises

 3 and has successfully adapted to changes in the healthcare industry and the economy more broadly.

 4 Specter Decl. ¶ 6; Toche Decl. ¶¶ 5-6. And he has accomplished all of this without the need for

 5 regular court intervention. Specter Decl. ¶¶ 7-9. Mr. Kelso already exercises authority over

 6 certain areas where medical and mental health systems overlap, such as pharmacy, nursing

 7 staffing, and the electronic healthcare records system, see Bien Decl. ¶ 4, and the parties strongly

 8 believe that appointing him as Coleman receiver would both bring Defendants into compliance

 9 with the Coleman remedy and create a more efficient, unitary medical-mental health system that
10 better serves Coleman and Plata class members. See generally Macomber, Toche, Bien, Specter

11 declarations. By appointing Mr. Kelso, the Court will ensure that there is a minimum of

12 duplication and the maximum amount of coordination between the two cases. Macomber Decl. ¶

13 2; Toche Decl. ¶ 7; Bien Decl. ¶ 9.

14              It is for all of these reasons that together, the parties strongly and independently
15 recommend that Mr. Kelso be appointed as the receiver. The parties agree that the Court should

16 define the scope and powers of the receivership as follows:

17 II.          JOINT STATEMENT BY THE PARTIES
18              A.            Plaintiffs and Defendants Both Support the Appointment of Clark Kelso as
                              Receiver Over CDCR’s Entire Medical and Mental Health Services Delivery
19                            System.
20              Together, the parties would jointly support this court’s appointment of Clark Kelso as the
21 Coleman Receiver over CDCR’s Mental Health Services Delivery System (MHSDS) if Judge

22 Tigar agrees 1 and Mr. Kelso accepts the appointment. As noted, Mr. Kelso possesses unique

23 credentials, experience, and expertise, as well as a successful track record that sets him apart and

24 shifts the landscape, such that the parties would not appeal an order appointing him as receiver, as

25 discussed below.

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27   1
     The parties will inform the Plata Court by sending a courtesy copy of this joint response after it
28 is filed.

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 1              Moreover, his appointment would create efficiencies as medical and mental health patients

 2 are not distinct—there is just one system and set of patients. Macomber Decl. ¶ 2; Toche Decl. ¶¶

 3 4, 7; Bien Decl. ¶ 9. It also would avoid the inevitable confusion, inconsistencies, and

 4 inefficiencies that would result from the appointment of a separate receiver overseeing a large

 5 portion of CDCR’s medical care system, who would nonetheless have to work closely with Mr.

 6 Kelso and might make conflicting decisions. Id.

 7                            1.   Scope and Terms of Mr. Kelso’s Appointment

 8              The parties agree that Mr. Kelso’s authority as receiver in Coleman should mirror his

 9 powers in Plata in order for him to be successful. This means that he must “have the duty to
10 control, oversee, supervise, and direct all administrative, personnel, financial, accounting,

11 contractual, legal, and other operational functions of the [mental health] delivery component of the

12 CDCR.” Plata v. Schwarzenegger, No. 01-1351 TEH, ECF No. 473 at 2:15-17 (Order Appointing

13 Receiver) (N.D. Cal. Feb. 14, 2006). In other words, Mr. Kelso would stand in the shoes of the

14 Secretary regarding the delivery of mental health care, as well as all other issues covered by

15 Coleman and its remedies, including, but not limited to, custodial, housing, restricted housing,

16 discipline, and program access. His appointment would not be limited to discrete issues or tasks.

17              The parties further agree that Mr. Kelso’s duties and powers as Coleman Receiver would
18 extend only to CDCR’s MHSDS, including the Secretary’s authority under Penal Code section

19 2684 to refer certain class members to the Department of State Hospitals for inpatient treatment,

20 but would not extend in any other way to the operation of the Department of State Hospitals. Mr.

21 Kelso would continue to report to Judge Tigar on medical care issues and would report to this

22 court on mental health issues. Mr. Kelso would report to both courts on issues that overlap, such

23 as hiring, electronic medical records, and pharmacy. 2

24              The parties believe this Court would simply need to issue an order with appropriate

25 findings supporting the appointment of Mr. Kelso as Coleman Receiver.

26
     2
    The parties agree that, in order to maintain continuity of monitoring under the receivership, the
27
   Special Master should continue his work on this matter at the direction and discretion of the Court
28 and in consultation with the Receiver.

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 1                            2.   The Parties Agree Mr. Kelso is Uniquely Positioned to Assume this Role.

 2              During his time as the Plata Receiver, Mr. Kelso has developed an extensive

 3 understanding of State processes and has learned to work within State structures to improve the

 4 delivery of medical care to CDCR’s incarcerated population. See Specter Decl. ¶ 7; Toche Decl. ¶

 5 5; Sapp Decl. ¶ 4. He has created an entire State agency charged with the delivery of medical care

 6 in CDCR institutions, and effectively established a durable system to ensure the constitutional

 7 delivery of care long into the future. Toche Decl. ¶¶ 5-6. Because of his proven track record and

 8 history of success in implementing medical care reforms throughout CDCR’s institutions, the

 9 parties are confident that Mr. Kelso would effectively and efficiently address remaining issues in
10 Coleman. Macomber Decl. ¶¶ 2-3; Toche Decl. ¶ 6; Bien Decl. ¶ 9; Sapp Decl. ¶ 5.

11              In addition to Mr. Kelso’s significant professional achievements as Plata Receiver, he is
12 the logical choice to be appointed as Coleman Receiver given his current role overseeing the

13 delivery of medical care statewide. CDCR does not provide services to mental health patients

14 separately from medical patients; rather, it is one system and one set of patients. Having this

15 singular health care system overseen by the same individual and the structure and staff he has

16 built—delivering both medical and mental health care to patients in a coordinated manner—will

17 create efficiencies and undeniably aid CDCR in its ultimate resumption of control over this health

18 care system in the future when both the Plata and Coleman courts determine it is appropriate to do

19 so. Macomber Decl. ¶¶ 2-3; Toche Decl. ¶¶ 4, 6; Bien Decl. ¶¶ 9-11. And the fact that Mr. Kelso

20 is already located in the Sacramento/Elk Grove area is further conducive to an efficient transition

21 to receiver over mental health care, given that in-person attendance at regular onsite meetings

22 would be critical to this role. Toche Decl. ¶ 4. Finally, the parties have developed a constructive

23 working relationship with Mr. Kelso as the Plata Receiver and believe that dynamic would be

24 replicable, and help advance progress in the long-standing case, if he is appointed receiver in

25 Coleman. Macomber Decl. ¶ 3; Toche Decl. ¶ 8; Specter Decl. ¶ 8; Bien Decl. ¶¶ 10-11; Sapp

26 Decl. ¶ 5.

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 1 III.         DEFENDANTS’ SEPARATE STATEMENT

 2              Defendants do not concede that the appointment of a receiver other than Mr. Kelso, on the

 3 terms described above, is otherwise appropriate. Defendants acknowledge and share the Court’s

 4 frustration where we are at in this litigation after almost three decades. But significant progress

 5 has been made in the intervening years, and the Mental Health Services Delivery System that is

 6 now in place bears no resemblance to what little care existed in 1990 when this case was first

 7 filed. This progress has, at times, been slow, but it cannot be disputed how far the system has

 8 come. Whereas there was previously no mental health screening for incoming incarcerated

 9 persons, little access to treatment, sparse mental health records, and no quality assurance program,
10 robust programs and systems now exist to address these issues.

11              Defendants acknowledge that work remains, but at this stage in the litigation, Defendants
12 do not believe that a receiver is the appropriate or necessary next step. Defendants do, however,

13 share Plaintiffs’ view that, given Mr. Kelso’s unique qualifications, experience, and track record

14 of success, appointing him as receiver over the mental health care system would jumpstart

15 progress on the outstanding areas of compliance in this case. Defendants welcome this chance to

16 move this case forward constructively and therefore would not appeal an order appointing Mr.

17 Kelso on the terms described above. To the extent this Court intends to proceed with the

18 appointment of a receiver other than Mr. Kelso, or imposes additional or different terms from

19 those set forth jointly above, Defendants request that an evidentiary proceeding be held for the

20 presentation of evidence, including expert and lay testimony.

21              A.            Relevant Factual Background
22                            1.    The Court’s 1995 Findings

23              Three years after the Plaintiff class first filed this lawsuit, Magistrate Judge Moulds

24 presided over a 39-day bench trial and subsequently issued detailed Findings and

25 Recommendations. (ECF No. 547.) Magistrate Judge Moulds concluded that CDCR’s mental

26 health system lacked elements that were essential to a constitutionally adequate mental health care

27 system, and found that “the evidence of defendants’ deliberate indifference [was] manifest;

28 defendants have for years ignored the considered advice of their own experts about the woeful

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 1 deficiencies in their system.” (ECF No. 547 at 16:10-13.)

 2              Magistrate Judge Moulds outlined six essential components of a constitutionally adequate

 3 mental health care system: (1) a systemic program for screening and evaluating inmates to

 4 identify those in need of mental health care; (2) a treatment program that involves more than

 5 segregation and close supervision; (3) employment of a sufficient number of trained mental health

 6 professionals; (4) maintenance of accurate, complete and confidential mental health treatment

 7 records; (5) administration of psychotropic medication with appropriate supervision and periodic

 8 evaluation; and (6) a basic program to identify, treat, and supervise inmates at risk for suicide. (Id.

 9 at 14:13-24; see also Balla v. Id. State Bd. Of Corrections, 955 F. Supp. 1558, 1577 (D. Id. 1984).)
10 Magistrate Judge Moulds found that CDCR was lacking in each of these essential areas.

11              Specifically, he found that CDCR had no system in place to screen and identify mentally
12 ill inmates, and that as a result, “[t]hese inmates either go undetected and without care, or they

13 come to the attention of staff only when they behave in bizarre and inappropriate ways.” (ECF

14 No. 547 at 30:7-9.) And when they did behave bizarrely or inappropriately, they were often

15 punished, rather than treated. (Id. at 30:9-11.) CDCR was also “significantly and chronically

16 understaffed in the area of mental health care,” resulting in lengthy waits for necessary treatment.

17 (Id. at 30:12-15.) Whereas the Scarlett Carp consultants, who were retained by Defendants,

18 determined that 732 staff positions would be necessary to adequately staff a system of 119,000

19 inmates, CDCR’s budget only authorized 376.6 positions. (Id. at 37:7-12.) Nor did CDCR have

20 an effective quality assurance or peer review program to assess the competence of its mental

21 health care staff, and Defendants’ own expert opined that a large system like CDCR’s “could

22 probably not provide adequate mental health care without some sort of management information

23 system and some form of quality assurance.” (Id. at 41:1-7; 41:23-42:1.) CDCR also had a

24 “profoundly inefficient medical recordkeeping system,” and, in some instances, no records of

25 treatment were kept. (Id. at 30:15-20.)

26              In terms of the actual care received, the court found that there were “significant and
27 unacceptable delays at each level of care,” and that “[f]requently, such inmates receive no care at

28 all or only medication; they are often housed in administrative segregation or security housing

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 1 units while awaiting care.” (ECF No. 547 at 44:5-11.) In November 1991, there was a backlog of

 2 over 400 inmates waiting to transfer to other institutions for psychiatric evaluations. (Id. at 46:23-

 3 26.) This meant that inmates waited several weeks or months, during which time they received no

 4 psychiatric treatment other than medication. (Id. at 47:22-48:1.) Even so, medication

 5 management practices were severely lacking, and the court found that “Defendants’ supervision of

 6 the use of medication is completely inadequate; prescriptions are not timely refilled, there is no

 7 adequate system to prevent hoarding of medication, inmates on psychotropic medication are not

 8 adequately monitored, and it appears that some very useful medications are not available because

 9 there is not enough staff to do necessary post-medication monitoring.” (Id. at 50:10-17.)
10              The court described myriad concerns and inadequacies in the system that then-existed. In
11 light of those findings, the Magistrate Judge recommended the appointment of a special master to

12 “monitor defendants’ compliance with the court-ordered injunctive relief.” (ECF No. 547 at

13 77:13-23.)

14                            2.   Defendants Have Made Significant Progress in Implementing a Mental
                                   Health Delivery System that Now Bears No Resemblance to its
15                                 Predecessor.

16              Defendants have made great strides in establishing a robust mental health care system

17 since this court’s finding of unconstitutionality in 1995. Through this case, extensive, meaningful,

18 and lasting reforms have been implemented. As it relates to the six critical areas first identified by

19 Magistrate Judge Moulds in his 1995 Findings and Recommendations, CDCR has undeniably

20 implemented a systemic program for screening and evaluating inmates to identify those in need of

21 mental health care; dramatically improved staffing; established a treatment program that involves

22 more than segregation and close supervision; maintains accurate, complete and confidential mental

23 health treatment records; properly administers psychotropic medication; and created a basic

24 program to identify, treat, and supervise inmates at risk for suicide.

25              Defendants have also successfully implemented robust screening procedures. Chapter 2 of

26 the Program Guide (ECF No. 7333-1 at 23) requires all incarcerated persons to undergo intake

27 screening within 24 hours of arrival and mental health screening within the first seven days. No

28 one leaves the reception center without intake screening as it is now part of standard processing.

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 1 Implementation of this requirement is evidenced by the simple growth of the Coleman class. The

 2 growth of the class’s size (see, e.g., ECF No. 8291 at 4:1-5 (noting a more than doubling of the

 3 class’s size)) is, at least in part, attributable to the effectiveness of that screening.

 4              Further, notwithstanding the fact that this court recently held Defendants in contempt for

 5 failing to comply with prior staffing orders, objectively, CDCR has dramatically improved staffing

 6 since the 1995 Findings and Recommendations were issued. CDCR has increased allocated

 7 mental health provider positions by a factor of 8.5 3 since this case was filed, even as the size of the

 8 class has grown by a factor of just over 2.0 and the incarcerated population dropped significantly.

 9 Of course, allocated positions do not equate to filled positions, but even in the context of filled
10 positions, CDCR now employs over 1,300 more mental health clinicians than it did at the time of

11 the 1995 Findings and Recommendations. Compare ECF No. 8303 at 22 (indicating a total of

12 1,611.08 positions filled with civil service and registry providers across all classifications) with

13 ECF No. 547 at 37:7-12 (indicating 376.6 total allocated positions of which 25% were vacant, i.e.,

14 a total of approximately 280 filled positions). The issue of staffing challenges has already been

15 extensively briefed and argued before this court and will not be repeated here, but CDCR has

16 objectively come a long way in terms of its mental health provider staffing.

17              Further, CDCR’s MHSDS now provides its patients with robust treatment at various levels
18 of care, follows strict timeframes for the transfer of patients to higher levels of care when needed,

19 and no longer punishes patients with administrative segregation for exhibiting conduct that is

20 merely a manifestation of a mental health disorder. Indeed, CDCR’s recent Restrictive Housing

21 Unit (RHU) policy demonstrates how far CDCR has come, stating that the purpose of the policy is

22 “[t]o assure all incarcerated individuals have access to mental health services while housed in a

23 restrictive housing unit setting,” and to provide MHSDS patients with “enhanced mental health

24 services to prevent decompensation.” (ECF No. 8337 at Ex. B, p. 1.)

25              As it relates to mental health records, the Plata Receiver previously reported in his Forty-
26

27   3
    2023-24 State Budget, Department of Corrections and Rehabilitation, available at
28 https://ebudget.ca.gov/budget/2023-24EN/#/Department/5225.

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 1 First Tri-Annual Report that the Electronic Health Records System (EHRS) “was successfully

 2 implemented at all institutions statewide as of November 2017.” (ECF No. 6171 at 8.)

 3              Additionally, with respect to the administration of psychotropic medication, Defendants

 4 developed, in coordination with the Plata Receiver and Coleman Special Master, the Medication

 5 Administration Process Improvement Program (MAPIP). MAPIP is an audit tool that has “been

 6 implemented at all CDCR institutions by the time of the Twenty-Seventh Monitoring Report and

 7 was in use at all institutions during the Twenty-Eighth Monitoring Round.” (ECF No. 7074 at 125

 8 (OSM 28th Round Report).) Additionally, in 2012, the state enacted Penal Code section 2602,

 9 setting a permanent process for initiating involuntary medication for incarcerated persons.
10              Finally, with respect to the implementation of a “basic” suicide prevention program, the
11 Special Master’s suicide prevention expert conducted an audit of CDCR’s suicide prevention

12 practices in 2013 and made 33 recommendations. (ECF No. 8143 at 2.) Three of those

13 recommendations were later withdrawn, and the Special Master’s suicide prevention expert

14 recently found that Defendants still need to implement 14 recommendations. (Id. at 3, 8.) While

15 this recent finding is currently pending with the court, it is clear that the Special Master’s suicide

16 prevention expert believes more work remains. Nonetheless, the suicide prevention program that

17 is currently in place is far more robust, thorough, and extensive than whatever may have existed in

18 1995. Indeed, “a strength of CDCR’s suicide prevention system [is] the Suicide Case Review

19 process” (ECF No. 8180-3 at ¶ 23), which the Special Master’s expert has described as

20 “comprehensive,” noting that “thoughtful and targeted QIPs” are included to correct deficiencies

21 and improve suicide prevention practices. (ECF No. 8143-1 at 64.)

22              B.            The Appointment of a Receiver is Not Necessary or Justifiable.
23              Defendants do not believe that the Court should initiate proceedings regarding the
24 appointment of a receiver, nor do they believe that the Court will be able to make findings

25 necessary to justify the appointment of one. Federal courts undeniably possess the power to

26 appoint receivers in order to remedy constitutional violations; however, courts should “exercise

27 restraint,” use the “least possible power adequate to the end proposed,” and be “mindful of the

28 interests of state and local authorities in managing their own affairs.” Plata v. Schwarzenegger,

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 1 2005 WL 2932243 at *6 (Case No. 01-1351 TEH, N.D. Cal. May 10, 2005), citing, e.g., Dixon v.

 2 Berry, 967 F. Supp. 535, 550 (D. D.C. 1997). Indeed, “one of the most important considerations

 3 governing the exercise of equitable power is a proper respect for the integrity and function of local

 4 government institutions.” Missouri v. Jenkins, 495 U.S. 33, 51 (1990). Thus, before imposing

 5 drastic equitable relief, a court must first “assure itself that no permissible alternative would have

 6 accomplished the required task.” Id., quoting Whitcomb v. Chavis, 403 U.S. 124, 161 (1971).

 7              Additionally, the Prison Litigation Reform Act (PLRA) imposes strict requirements with

 8 respect to the implementation of prospective relief in prison condition cases. 18 U.S.C. §

 9 3626(a)(1)(A). The PLRA provides that prospective relief must be “narrowly drawn, extend[] no
10 further than necessary to correct the violation of the Federal right, and [be] the least intrusive

11 means necessary to correct the violation of the Federal right.” Id. Because the appointment of a

12 receiver would constitute prospective relief, compliance with these PLRA mandates is required.

13 See Plata, 2005 WL 2932243 at *6.

14              Further, and specific to the appointment of a receivership, courts generally look to see if
15 two conditions have been met: (1) there is a grave and immediate threat or actuality of harm to

16 plaintiffs, and (2) the imposition of less extreme measures would be futile. Plata, 2005 WL

17 2932243 at *7. Courts also look to see whether “continued insistence that compliance with the

18 Court’s orders would lead only to confrontation and delay,” whether there is a lack of leadership,

19 whether there is bad faith, whether resources are being wasted, and whether a receiver would

20 likely provide a quick and efficient remedy. Id.

21              Here, Defendants do not believe that this court will be able to make the requisite findings
22 to support the appointment of a receiver. Defendants are “ready, willing, and … able to remedy

23 the deprivation of constitutional rights themselves.” Jenkins, 495 U.S. at 51. While this court has

24 extensively noted its frustration with the pace in which reforms have been implemented in this

25 case, as demonstrated above, significant reforms have objectively occurred throughout this

26 litigation. Institutional reform is not always fast, particularly where, as here, an entire mental

27 health delivery system has been created from the ground up. And unlike the circumstances in

28 Plata, where the district court appointed a receiver in 2005, this case is not “at a point of

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 1 maximum futility,” nor has “the State [ ] publicly confessed its inability to grapple with the

 2 problem in any appreciable systemic manner for what is likely to be years to come.” Plata, 2005

 3 WL 2932243 at *8. At this stage of the litigation, and in light of the progress accomplished to

 4 date and Defendants’ commitments to address the work that remains, Defendants do not believe

 5 that the appointment of a receiver is either appropriate or necessary. Instead, the parties should be

 6 directed to continue their work, under the supervision of the Special Master, to implement any

 7 remaining reforms forthwith.

 8              To the extent this court nonetheless determines that it is appropriate to proceed with the

 9 appointment of a receiver in this case, it should “creat[e] an evidentiary record upon which to
10 ground any further remedial action.” Plata, 2005 WL 2932243 at *10. The parties should be

11 permitted to present evidence and cross-examine the court experts (to the extent the court intends

12 to rely upon their findings in support of a receiver’s appointment), as was permitted in Plata. Id.

13 Interests of due process and fairness mandate that Defendants be given this opportunity to be

14 heard and to confront the evidence presented against them.

15 IV.          PLAINTIFFS’ SEPARATE STATEMENT
16              Plaintiffs write separately to make three additional points: First, the Court must make
17 findings to justify the appointment of a receiver regardless of whether Defendants consent to the

18 appointment. Second, there is no need for a further evidentiary hearing on the question of whether

19 to appoint a receiver because the existing record is more than sufficient to justify such an

20 appointment. And third, in light of this record, the Court should appoint a receiver even if it does

21 not select Mr. Kelso for that role, though Plaintiffs strongly encourage the Court to appoint Mr.

22 Kelso.

23              A.            The Court Must Make Factual Findings to Justify its Appointment of a
                              Receiver Regardless of Whether Defendants Consent to the Appointment.
24

25              “[R]eceiverships are recognized equitable tools available to the courts to remedy otherwise
26 uncorrectable violations of the Constitution[.]” Plata v. Schwarzenegger, 602 F.3d 1088, 1093-94

27 (9th Cir. 2010). “The test” for appointment of a receiver “is one of reasonableness under the

28 circumstances.” Morgan v. McDonough, 540 F.2d 527, 533 (1st Cir. 1976); see also Shaw v.

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 1 Allen, 771 F. Supp. 760, 762 (S.D.W.Va. 1990); Dixon v. Barry, 967 F. Supp. 535, 550 (D.D.C.

 2 1997); Plata v. Schwarzenegger, No. C01-1351 TEH, 2005 WL 2932253, at *23 (N.D. Cal. Oct.

 3 3, 2005). In assessing whether it would be reasonable to appoint a receiver in this case, the court

 4 must consider at least the following factors, giving “predominant weight” to the first two factors:

 5                            (1) Whether there is a grave and immediate threat or actuality of
                              harm to plaintiffs;
 6
                              (2) Whether the use of less extreme measures of remediation have
 7                            been exhausted or prove futile;

 8                            (3) Whether continued insistence that compliance with the Court's
                              orders would lead only to confrontation and delay;
 9
                              (4) Whether there is a lack of leadership to turn the tide within a
10                            reasonable period of time;
11                            (5) Whether there is bad faith;
12                            (6) Whether resources are being wasted; and
13                            (7) Whether a receiver is likely to provide a relatively quick and
                              efficient remedy.
14

15              Plata, 2005 WL 2932253, at *23; United States v. Hinds County, No. 3:16-cv-489-CWR-
16 BWR, 2023 WL 1186925, at *4-5 (S.D. Miss. Jan. 30, 2023).

17              The Court should consider and make findings under these factors to support its
18 appointment of a receiver regardless of whether Defendants consent to the appointment. See

19 Sterling Savings Bank v. Citadel Development Corp., 656 F. Supp. 2d 1248, 1260-61 (D. Or.

20 2009) (consent of the parties not dispositive as to propriety of receivership under federal law).

21 The Court should also make separate findings under the Prison Litigation Reform Act,

22 demonstrating why under the circumstances here, a receivership is a narrowly drawn remedy that

23 extends no further than necessary to correct the underlying Eighth Amendment violations, is the

24 least intrusive means necessary to correct those violations, and will not have an adverse impact on

25 public safety or the operation of the state’s criminal justice system. See 18 U.S.C. §

26 3626(a)(1)(A); Hinds County, 2023 WL 1186925, at *2.

27              Here, all seven factors weigh strongly in favor of appointing a receiver. Analysis of these
28 factors also confirms that an order appointing a receiver would satisfy the requirements of 18

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 1 U.S.C. § 3626(a)(1)(A). See Hinds County, 2023 WL 1186925, at *15.

 2                            1.   There is a Grave and Immediate Threat of Harm to the Plaintiff Class.

 3              The Order to Show Cause correctly notes that “the record is replete with evidence of both

 4 threatened and actual harm to members of the plaintiff class as a result of defendants’ ongoing

 5 non-compliance” with various orders. ECF No. 8330 at 12. In 1995, the Court concluded after a

 6 lengthy trial that Coleman class members “daily face an objectively intolerable risk of harm as a

 7 result of the gross systemic deficiencies that obtain throughout the department.” Coleman v.

 8 Wilson, 912 F. Supp. 1282, 1316 (E.D. Cal. 1995). In 2013 and again in 2014, the Court found

 9 that class members continued to face a substantial risk of serious harm due to Defendants’ failures
10 to remedy these deficiencies. See Coleman v. Brown, 938 F. Supp. 2d 955 (E.D. Cal. 2013);

11 Coleman v. Brown, 28 F. Supp. 3d 1068 (E.D. Cal. 2014). More recently, the Court has adopted

12 in full the Special Master’s findings that Defendants’ continued failures to comply with their

13 remedial obligations “present[s a] grave and unacceptable risk of harm to Coleman patients across

14 levels of care,” ECF No. 8095 at 37; that these failures “have pervasive, negative impacts on the

15 Coleman class,” ECF No. 7833 at 43; and that “the potential harm to members of the Coleman

16 class—especially those class members whose illness requires inpatient hospitalization—who go

17 without needed treatment due to [staffing] vacancies is unacceptable,” id. See ECF No. 7854

18 (adopting ECF No. 7833 in full); ECF No. 8239 (adopting ECF No. 8095 in full). Indeed,

19 Defendants’ most recent annual report on suicides in CDCR concedes that inadequate mental

20 health staffing plays a significant role in the unusually and unacceptably high suicide rate among

21 people incarcerated in CDCR institutions. See ECF No. 8064 at 12, 15,18; see also ECF No. 8282

22 at 51-55 (citing further evidence that directly links Defendants’ non-compliance with suicide-

23 prevention requirements to understaffing). This is more than sufficient to conclude that the first

24 factor weighs in favor of appointing a receiver.

25                            2.   The Court has Exhausted All Available Less-Extreme Measures and
                                   Continued Reliance on Such Measures Would be Futile.
26

27              The Order to Show Cause also correctly notes that “the court has exhausted virtually every

28 mechanism for prodding Defendants to finally achieve compliance,” including issuing “dozens of

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 1 orders directing less extreme measures.” ECF No. 8330 at 2-7. The Court has appointed a Special

 2 Master “to supervise development and implementation” of remedial measures. Id. at 8; Coleman,

 3 912 F. Supp. at 1324 . As part of a three-judge court convened pursuant to 18 U.S.C. § 3626(a),

 4 the Court has ordered Defendants to reduce overcrowding to levels that make it feasible to provide

 5 constitutionally adequate mental health care. See Coleman v. Schwarzenegger, 922 F. Supp. 2d

 6 882 (E.D. & N.D. Cal 2009), aff’d sub nom. Brown v. Plata, 563 U.S. 493 (2011). And most

 7 recently, the Court first threatened and then imposed more than $100 million in coercive civil

 8 contempt sanctions because Defendants had not taken all reasonable steps to remedy severe and

 9 worsening staffing shortages in their outpatient programs, see ECF No. 8291, and initiated
10 contempt proceedings regarding two other areas of long-term non-compliance: implementation of

11 suicide prevention measures and inpatient staffing, see ECF No. 8330 at 3-7. None of these

12 measures has brought Defendants into compliance, and Defendants have not proposed any

13 alternative measures that could realistically do so. This is more than sufficient to justify

14 appointment of a receiver. See Plata, 2005 WL 2932253, at *26-28; see also Plata, 563 U.S. at

15 511 (“Courts may not allow constitutional violations to continue simply because a remedy would

16 involve intrusion into the realm of prison administration.”).

17                            3.   Remaining Factors.

18              There is little question that the remaining factors weigh in favor of a receivership as well.

19 The long and tortuous history of this case—which has been marked, among other things, by

20 Defendants’ intransigence across multiple administrations and a steadfast resistance to change

21 even when faced with more than $100 million in contempt fines—clearly indicates that

22 Defendants will not “turn the tide within a reasonable period of time” and that continued

23 insistence that Defendants comply with the Court’s orders “will lead only to further confrontation

24 and delay.” ECF No. 8330 at 12. Indeed, in the past decade alone, the Court has found that

25 Defendants have violated ethical rules regarding ex parte communication with represented parties,

26 see Coleman v. Brown, 938 F. Supp. 2d 955, 962-69 (E.D. Cal. 2013); knowingly presented

27 misleading information to the Court and to the Special Master, Coleman v. Newsom, 424 F. Supp.

28 3d 925 (E.D. Cal. 2019); and pursued a “distracting and costly scorched earth litigation strategy”

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 1 for improper ends, see ECF No. 8330 at 12 (quoting ECF No. 7699 at 3-4). Regardless of whether

 2 the Court labels this pattern of behavior “bad faith”—and it need not do so in order to justify a

 3 receivership, see Plata, 2005 WL 2932253 at *30—this too weighs in favor of appointing a

 4 receiver. Given the alternative of continued adversarial litigation, a receivership would clearly

 5 conserve resources and provide a comparatively quick and efficient remedy as well.

 6              In sum, the existing record in this case includes more than enough evidence to justify the

 7 appointment of a receiver under both the reasonableness-under-the-circumstances test and the

 8 needs-narrowness-intrusiveness standard codified at 18 U.S.C. § 3626(a)(1)(A).

 9              B.            No Further Hearing is Required Because the Existing Record in this Matter
                              Amply Supports the Appointment of a Receiver.
10

11              Defendants believe that an additional evidentiary hearing is necessary before the Court
12 appoints a receiver if the Court does not appoint Mr. Kelso. But they have not indicated what

13 factual disputes such a hearing would help the Court to resolve. And the Court “may approve of

14 the appointment of a receiver without a hearing where the record discloses sufficient facts to

15 warrant it.” Citronelle-Mobile Gathering, Inc. v. Watkins, 934 F.2d 1180, 1189 (11th Cir. 1991);

16 see also Sterling Savings Bank, 656 F. Supp. 2d at 1259-60 (rejecting claim that evidentiary

17 hearing was required for appointment of receiver where parties received notice and opportunity to

18 be heard on the matter); Wayne County Jail Inmates v. Wayne County Chief Executive Officer, 178

19 Mich. App. 634, 661-62 (1989) (appointing receiver without a hearing where monitoring reports

20 disclosed “fully adequate facts” to support the appointment).

21              There is no need for a hearing in this case because the record discloses more than enough
22 facts to warrant a receivership. See Section IV.A, supra. The Order to Show Cause provided the

23 parties with sufficient notice that the Court is considering a receivership, including notice of its

24 tentative reasoning for appointing a receiver. See ECF No. 8330. The Court also provided the

25 parties with an opportunity to be heard on the matter through written submissions. Id. Defendants

26 have filed declarations in support of their written submission, and the Court can consider those

27 declarations in its decision as well. Absent a material factual dispute that necessitates live

28 testimony, the Court need not hold a hearing before appointing a receiver.

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 1              C.            The Court Should Appoint a Receiver Regardless of Whether it Selects Mr.
                              Kelso for that Role.
 2

 3              The parties agree that the Court should appoint Mr. Kelso as Receiver. See Section II,

 4 supra. Unlike Defendants, however, Plaintiffs maintain that the record in this matter fully

 5 supports the appointment of a receiver even if Mr. Kelso is unavailable and/or the Court chooses

 6 not to select Mr. Kelso for that role. The analysis in section IV.A, supra, does not turn on the

 7 identity of the receiver. Each of these factors weighs in favor of appointing a receiver regardless

 8 of whom the Court appoints. And while Plaintiffs support the appointment of Mr. Kelso for the

 9 reasons discussed in the Parties’ Joint Statement above, see section II, supra, as well as the
10 accompanying declarations of Michael W. Bien and Donald Specter, there are undoubtedly other

11 candidates who could also serve in this role. In the event the Court does not appoint Mr. Kelso,

12 Plaintiffs request that the Court issue the findings required to appoint a receiver and then provide

13 the parties with an opportunity to assist the process by identifying additional candidates.

14 V.           CONCLUSION
15              This case could undeniably benefit from a sea change. In an important moment of unity,
16 the parties have come together to jointly propose that significant change, which they believe could

17 move this case forward and finally achieve compliance. Together, the parties propose the

18 appointment of J. Clark Kelso as receiver on the terms set forth above. Mr. Kelso is uniquely

19 qualified for this role because of his extensive history in achieving institutional reform and current

20 role as Plata Receiver, overseeing CDCR’s medical care delivery system. Stated another way, the

21 most effective and efficient means of creating a durable and sustainable mental health program is

22 to create a single integrated health care system now, and the parties agree that the appointment of

23 Mr. Kelso as Receiver over the mental health care system will substantially advance that goal.

24

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